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Verdict Sheet
July 28, 2017 Court Ex. 5A

Verdict Sheet

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

eee ee ee eee ee x
UNITED STATES OF AMERICA,
-against-
10-CR-637 (KAM)
MARTIN SHKRELI,
Defendant. :
a x

AS TO COUNT ONE
(Conspiracy to Commit Securities Fraud)

On the charge of conspiracy to commit securities fraud
in connection with MSMB Capital in Count One, how do you

unanimously find the defendant, MARTIN SHKRELI?
_

Guilty Not Guilty a plafia
, l

AS TO COUNT TWO
(Conspiracy to Commit Wire Fraud)
On the charge of conspiracy to commit wire fraud in

connection with MSMB Capital in Count Two, how do you

unanimously find the defendant, MARTIN SHKRELI?

Guilty Not Guilty / gfafia,

AS TO COUNT THREE
(Securities Fraud)

On the charge of securities fraud in connection with

MSMB Capital in Count Three, how do you unanimously find the

 
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defendant, MARTIN SHKRELI?
Guilty 4 Not Guilty _

, - tf'7
AS TO COUNT FOUR
(Conspiracy to Commit Securities Fraud)

 

On the charge of conspiracy to commit securities fraud
in connection with MSMB Healthcare in Count Four, how do you
unanimously find the defendant, MARTIN SHKRELI?

Guilty Not Guilty vO 3/3/17

AS TO COUNT FIVE
(Conspiracy to Commit Wire Fraud)

On the charge of conspiracy to commit wire fraud in
connection with MSMB Healthcare in Count Five, how do you

unanimously find the defendant, MARTIN SHKRELI?

Guilty Not Guilty Lf sf

{
AS TO COUNT SIX

(Securities Fraud)
On the charge of securities fraud in connection with
MSMB Healthcare in Count Six, how do you unanimously find the
defendant, MARTIN SHKRELI?
Guilty Jf. Not Guilty

r sf2/pq

AS TO COUNT SEVEN
(Conspiracy to Commit Wire Fraud)

On the charge of conspiracy to commit wire fraud in

connection with Retrophin in Count Seven, how do you unanimously
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Verdict Sheet
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find the defendant, MARTIN SHKRELI?
Guilty Not Guilty 4%, ofa f17
—— : ———Y

AS TO COUNT EIGHT
(Conspiracy to Commit Securities Fraud)

On the charge of conspiracy to commit securities fraud
in connection with Retrophin in Count Eight, how do you

unanimously find the defendant, MARTIN SHKRELI?

oy el4liq Guilty JL. Not Guilty _

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Dated: Brooklyn, New York y ,
Augusteaty 4 , 2017 peonerea

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